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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


RUBY FREEMAN and WANDREA’ MOSS,

                               Plaintiffs,
                                                                         No. 24-mc-353
v.

RUDOLPH W. GIULIANI,

                               Defendant.



 DECLARATION OF M. ANNIE HOUGHTON-LARSEN TO PLAINTIFFS’ REPLY IN
 SUPPORT OF PLAINTIFFS’ MOTION AND OBJECTION REGARDING CLAIM OF
 EXEMPTION AS TO FUNDS HELD AT PARKSIDE FINANCIAL BANK AND TRUST

       I, M. Annie Houghton-Larsen, hereby declare as follows pursuant to 28 U.S.C. § 1746:

       1.      I am counsel to Plaintiffs Ruby Freeman and Wandrea’ Moss (“Plaintiffs”) in the

above-captioned action.

       2.      On June 25, 2024, Defendant Giuliani filed his Chapter 11 Monthly Operating

Report for May 2024 with exhibits, A true and correct copy of which is attached as Exhibit 1 in

two parts due to size.

       3.      On July 1, 2024, Defendant Rudolph W. Giuliani (“Defendant Giuliani”) filed an

“Application to Convert Chapter 11 to Chapter 7” in In re Giuliani, No. 23-12055-SHL (Bankr.

S.D.N.Y.), a true and correct copy of which is attached as Exhibit 2.

       4.      On August 5, 2024, Plaintiffs served a Restraining Notice and Information

Subpoena on Giuliani Communications LLC via certified mail (the “Giuliani Communications

Subpoena”), a true and correct copy of which is attached as Exhibit 3.

       5.      A true and correct copy of the Affidavit of Service for the Giuliani Communications

Subpoena served via certified mail, among other subpoenas, is attached as Exhibit 4.
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       6.      A true and correct copy of a picture of the mailing envelope containing the Giuliani

Communications Subpoena sent via certified mail is attached as Exhibit 5.

       7.      On September 20, 2024, Plaintiffs served a second copy of the Giuliani

Communications Subpoena on the Registered Agent of Giuliani Communications LLC via process

server. A true and correct copy of the Affidavit of Service for the Giuliani Communications

Subpoena served via process server is attached as Exhibit 6.

       8.      On September 30, 2024, Kenneth A. Caruso, counsel for Defendant Giuliani, sent

a letter to Counsel for Plaintiffs regarding Plaintiffs’ Motion and Objection to Defendant Giuliani’s

claim of exemption from execution for funds in the Citibank account ending in 1428, a true and

correct copy of which is attached as Exhibit 7.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

Executed on October 8, 2024.                          s/ M. Annie Houghton-Larsen__
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